  Case 3:17-cv-00155-HEH Document 14 Filed 06/26/17 Page 1 of 2 PageID# 43




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

DIANE PELLEGRINO,                                )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )      Case No. 3:17-cv-00155-HEH
                                                 )
NATIONSTAR MORTGAGE, LLC,                        )
                                                 )
                                                 )
       Defendant.                                )

                                  NOTICE OF SETTLEMENT

       Plaintiff, DIANE PELLEGRINO, (“Plaintiff”), through her attorney, Richard W. Ferris,

inform this Honorable Court that the Parties have reached a settlement in this case. Plaintiff

anticipates dismissing this case, with prejudice, within 15 days.




DATED: June 26, 2017                  RESPECTFULLY SUBMITTED,



                                      By:_/s/ Richard W. Ferris________________ 
                                             Richard W. Ferris, Esq.
                                             Virginia bar number 31812
                                             Attorney for Diane Pellegrino
                                             Ferris Winder, PLLC 
                                             530 East Main St. Suite 300
                                             Richmond, VA 23219
                                             Phone: (804) 767-1800
                                             Fax: (888) 251-6228
                                             rwferris@ferriswinder.com
  Case 3:17-cv-00155-HEH Document 14 Filed 06/26/17 Page 2 of 2 PageID# 44




                                CERTIFICATE OF SERVICE

        On June 26, 2017, I electronically filed the Notice of Settlement with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of Settlement to
Defense Counsel, Justin Sizemore, at jsizemore@reedsmith.com.

                                      By:_/s/ Richard W. Ferris_____________
                                             Richard W. Ferris
